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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 ______________________________________________
                                                       )          MDL No. 1456
IN RE PHARMACEUTICAL INDUSTRY                          )          Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION                     )          Subcategory Case No. 06-11337
_______________________________________________ )
                                                       )          Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                              )
State of California, ex rel. Ven-A-Care of the Florida )          Magistrate Judge
Keys, Inc. v. Abbott Laboratories, Inc., et al.        )          Marianne B. Bowler
Case No: 1:03-cv-11226-PBS                             )
_______________________________________________ )


       DECLARATION OF NICHOLAS N. PAUL IN SUPPORT OF PLAINTIFFS’
              OPPOSITION TO DEFENDANTS’ JOINT MOTION
                  FOR PARTIAL SUMMARY JUDGMENT

         I, Nicholas N. Paul, do hereby declare as follows:

         1.     I am a Supervising Deputy Attorney General with the California Department of

Justice, Bureau of Medi-Cal Fraud and Elder Abuse. I am admitted to practice law in the State of

California and have been admitted pro hac vice in this matter.

         2.     On behalf of Plaintiff State of California, I am submitting with this declaration

Exhibits in support of the Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial

Summary Judgment and as referenced in Plaintiffs’ Response to Defendants’ Joint Statement of

Undisputed Facts and Statement of Additional Undisputed Facts in Opposition to Defendants’

Joint Motion for Partial Summary Judgment.

         3.     The following exhibits are true and correct copies of the materials described:

Exhibit No.     Description
     1          Rule 30(b)(6) Deposition of the California Department of Health Care Services
                (J. Kevin Gorospe), taken December 3, 2008, selected pages.
     2          Deposition of Deidre Duzor, taken October 30, 2007, selected pages
     3          Deposition of Deidre Duzor, taken February 27, 2008, selected pages
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4         Rule 30(b)(6) Deposition of the California Department of Health Care Services
          (Stanley Rosenstein), taken November 6, 2008, selected pages.
5         Rule 30(b)(6) Deposition of the California Department of Health Care Services
          (Maureen Tooker), taken October 21, 2008, selected pages.
6         Deposition of Douglas Hillblom, taken September 23, 2008, selected pages
7         Deposition of J. Kevin Gorospe, taken September 22, 2008, selected pages
8         Deposition of J. Kevin Gorospe, taken March 19, 2008, selected pages
9         Declaration of Sue Gaston, dated June 15, 2009, filed in the action entitled City of
          New York, et al. v. Abbott Laboratories, et al., Master File No. 01-12257-PBS,
          Docket No. 6144-2
10        Declaration of Dona Coffman, dated November 25, 2009, filed in the action
          entitled City of New York, et al. v. Abbott Laboratories, et al., Master File No. 01-
          12257-PBS, Docket No. 6693-2
11        Declaration of Jeffrey J. Leitzinger, Ph.D., dated December 18, 2009
12        Declaration of Jeffrey J. Leitzinger, Ph.D. Regarding Defendant Dey, dated
          November 19, 2009
13        Declaration of Jeffrey J. Leitzinger, Ph.D. Regarding Defendant Mylan, dated
          November 19, 2009
14        Declaration of Jeffrey J. Leitzinger, Ph.D. Regarding Defendant Sandoz, dated
          November 19, 2009
15        Demonstrative charts portraying extent of spreads on Defendants’ subject drugs
16        Expert Report of Stephen W. Schondelmeyer, Ph.D., dated June 30, 2009
17        Deposition of Stanley Rosenstein, taken May 19, 2009, selected pages
18        Expert Report of Professor Theodore R. Marmor, Ph.D., dated June 30, 2009
19        Deposition of Daniel L. Rubinfeld, Ph.D., taken September 22, 2009, selected
          pages
20        Addendum to the Final Statement of Reasons (CAAG/DHS0089546-549)
21        Rule 30(b)(6) Deposition of the California Department of Health Care Services
          (Stanley Rosenstein), taken November 6, 2008, Ex. 37.
22        Deposition of Stephen W. Schondelmeyer, Ph.D., taken September 15, 2009,
          selected pages
23        Deposition of Stephen W. Schondelmeyer, Ph.D., taken September 16, 2009,
          selected pages
24        Exhibit 7 to the Expert Report of Jeffrey J. Leitzinger, Ph.D – Dey (June 30,
          2009)
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     25        Exhibit 7 to the Expert Report of Jeffrey J. Leitzinger, Ph.D – Mylan (June 30,
               2009)
     26        Exhibit 7 to the Expert Report of Jeffrey J. Leitzinger, Ph.D – Sandoz (June 30,
               2009)




       I declare of under penalty of perjury that the foregoing is true and correct.

       Executed December 21, 2009, at San Diego, California.

                                                       /s/ Nicholas N. Paul
                                                     NICHOLAS N. PAUL



                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was delivered to all counsel of

record by electronic service pursuant to Paragraph 11 of the Case Management Order No. 2, by

sending on December 21, 2009, a copy of Lexis-Nexis for posting and notification to all parties.

                                                       /s/ Nicholas N. Paul
                                                     NICHOLAS N. PAUL
